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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                   Baltimore Division


IN RE:

ALBERT FLUKER


Debtor(s)
_________________________________                             Case No. 19-10626

VANDERBILT MORTGAGE AND FINANCE, INC.

         Movant,

vs.                                                           Chapter 7

ALBERT FLUKER

         Debtor(s)


      MOTION FOR RELIEF FROM AUTOMATIC STAY ON REAL PROPERTY
         LOCATED AT 3711 WOODBINE AVE., BALTIMORE, MD 21207


         COMES NOW, Vanderbilt Mortgage and Finance, Inc. (hereinafter “Movant”), its

assigns and/or its successors in interest, by and through counsel, moves for relief from the

automatic stay of 11 U.S.C. § 362(a) pursuant to Fed. R. Bankr. P. Rules 4001, 9014, and

Maryland Local Bankr. Rule 4001-1, and respectfully represents as follows:

         1. Jurisdiction is based on 28 U.S.C. §§ 157 and 1334 of the United States Bankruptcy

Code. The relief requested may be granted in accordance with the provisions of 11 U.S.C. §§

105(a) and 362(d) and pursuant to Fed. Bank. Proc. Rules 9013 and 4001.

         2. On or about January 16, 2019, Albert Fluker (hereinafter “Debtor”) filed a voluntary

petition in this Court under Chapter 7 of the United States Bankruptcy Code.



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          3. George W. Liebmann is the duly appointed Chapter 7 Trustee of the Debtor’s

bankruptcy estate.

          4. At the time of initiation of the bankruptcy proceedings, the Debtor owned a parcel of

real estate located in Baltimore City, Maryland, and improved by a residence known as 3711

Woodbine Ave., Baltimore, MD 21207 (hereinafter the “Property”).

          5. Movant is a secured creditor of the Debtor and the Movant’s interest is evidenced by a

Note dated January 04, 2007, and executed Albert Flucker, in the original principal amount of

$168,000.00, with fixed interest at the original note rate of 8.5000%. As required by Maryland

Local Bankr. Rule 4001-1(b)(4), a copy of the promissory note is attached hereto.

          6. Vanderbilt Mortgage and Finance, Inc. is the present holder of the Note.

          7. Said promissory note is secured by a certain Deed of Trust also dated January 04, 2007

and recorded in the land records of Baltimore City, Maryland, related to the subject Property. As

required by Maryland Local Bankr. Rule 4001-1(b)(4), a copy of the deed of trust is attached

hereto.

          8. Movant now seeks relief from the automatic stay against Debtors pursuant to 11

U.S.C. § 362(d)(1) for Debtors' failure to maintain adequate protection payments to Movant as

required by the Note and Deed of Trust. In addition, Debtors now wish to surrender the Property

to Movant according to the Statement of Intention filed in these proceedings.

          9. The Debtors are in default under the Note and Deed of Trust, being past due for the

September 1, 2017 through March 1, 2019 payments for a subtotal of $33,464.70 (payments

change periodically due to adjustable rate mortgage and escrow). Consequently, payment arrears

alone at this point total $33,464.70. Movant has incurred legal fees of $750.00 and filing cost of

$181.00 associated with this present motion.




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       10. A detailed statement of debt, required by Maryland Local Bankr. Rule 4001-1(b)(1),

is itemized as follows:

                Unpaid Principal                                  $165,636.63
                Deferred Principal                                      $0.00
                Accrued Interest                                   $16,649.04
                Late Fees                                           $1,054.42
                Motion Legal Fees                                     $750.00
                Motion Filing Cost                                    $181.00
                Escrow Advance Balance                              $7,314.37
                Private Mortgage Insurance                              $0.00
                Overage                                                -$0.00
                  Bankruptcy Funds                                     -$0.00
                Unpaid Fees                                           $970.00
                Suspense Balance                                       -$0.00


                                                         Total:   $192,555.46

       This statement of debt is not equivalent to a verified payoff statement. If you wish to

receive a verified payoff statement you must request one directly from the lender.

       11. Movant lacks adequate protection of its interest in the Property and Movant

continues to be irreparably injured by the stay of 11 U.S.C. § 362(a).

       12. The Movant avers that there is no equity in the Property because the total liens

against the Property exceed its fair market value. Debtor’s Schedule D lists the market value of

the Property as $176,691.00. Moreover, the Maryland State Department of Assessments and

Taxation’s real property report dated July 1, 2018 values the Property at $168,700. Maryland

Bankr. Rule 4001-1(b)(6).

       13. Cause exists for terminating the automatic stay imposed by 11 U.S.C. § 362(a) and

1301(a) to enable Movant to avail itself of its rights and remedies under its promissory note,

security instrument, and state law, including but not limited to the commencement of foreclosure

proceedings against the Property. Maryland Local Bankr. Rule 4001-1(b)(7).


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         14. In the event the automatic stay under 11 U.S.C. § 362(a) and 1301(a) is terminated

as to the subject Property, Movant may, at its discretion, discuss, offer and enter into any

potential non-bankruptcy loss mitigation agreements, such as a forbearance agreement, a deed-

in-lieu agreement or a loan modification agreement, with the Debtor.

         WHEREFORE, the Movant, its assigns and/or successors-in-interest prays that this
Court:

         1.     Enter an order terminating the automatic stay imposed by 11 U.S.C. § 362(a) of

the United States Bankruptcy Code to enable Movant to avail itself of its rights and remedies

under the promissory note, deed of trust, and state law, including but not limited to the initiation

of foreclosure proceedings against the property located at 3711 Woodbine Ave., Baltimore MD

21207 and to allow successful purchaser to obtain possession of same; and,

         2.     That the Order be binding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of Title 11 of the United States Code.

         3.     Award Movant its attorneys’ fees of $750.00 and costs of up to $181.00 which

were incurred in filing this Motion.

         4.     That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived, during
which period Debtor(s) may have minimal motivation to insure, preserve or protect the property.
         5.     Grant such other and further relief as may be just and necessary.

                                              Respectfully submitted,

                                                  /s/ Shannon E. Menapace, Esq.
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                                                Counsel for Movant



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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 8th day of March, 2019, to the extent that the
following person(s) were not served electronically via the CM/ECF system, a copy of the
foregoing Motion for Relief from Automatic Stay and attachments thereto was mailed, first class,
postage prepaid, to:


Albert Fluker                                 George W. Liebmann
P.O. Box 11528                                Liebmann & Shively, P.A.
Baltimore, MD 21229                           8 W Hamilton Street
Debtor(s)                                     Baltimore, MD 21201
                                              Chapter 7 Trustee
Geri Lyons Chase
Law Office of Geri Lyons Chase
2007 Tidewater Colony Drive
Suite 2B
Annapolis, MD 21401
Counsel for Debtor(s)




                                            /s/Shannon E. Menapace, Esq.
                                            Shannon E. Menapace, Esq.




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